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                    9
                 10                                     UNITED STATES DISTRICT COURT
                 11                                    CENTRAL DISTRICT OF CALIFORNIA
                 12                                          SOUTHERN DIVISION
                 13 NATURAL-IMMUNOGENICS CORP.,                       )   Case No. 8:15-cv-02034-JVS-JCG
                    a Florida Corporation,                            )
                 14                                                   )   Judge: Hon. James V. Selna
                                Plaintiff,                            )
                 15                                                   )   DEFENDANT VICTORIA
                           vs.                                        )   KNOWLES’ NOTICE OF
                 16                                                   )   MOTION AND MOTION FOR
                    NEWPORT TRIAL GROUP, et al.,                      )   SUMMARY JUDGMENT ON
                 17                                                   )   PLAINTIFF’S FIRST CLAIM FOR
                                Defendants.                           )   RELIEF
                 18                                                   )
                                                                          Date: June 14, 2021
                 19                                                       Time: 1:30 p.m.
                 20                                                       Complaint Filed: December 7, 2015
                                                                          Trial Date:      November 1, 2021
                 21
                 22                 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                 23                 PLEASE TAKE NOTICE that on June 14, 2021, at 1:30 p.m., Defendant
                 24 Victoria Knowles will and hereby does move this Court for summary judgment on
                 25 Plaintiff Natural Immunogenics Corp.’s first claim for relief alleging malicious
                 26 prosecution on the grounds there is no genuine dispute of material fact that would
                 27 allow a reasonable jury to find in Plaintiff’s favor, and that Ms. Knowles is therefore
                 28
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                    1 entitled to judgment as a matter of law on Plaintiff’s first claim for relief pursuant to
                    2 Federal Rule of Civil Procedure 56.
                    3               Ms. Knowles makes this motion on the grounds that there is no genuine
                    4 dispute of material fact that Ms. Knowles acted with “malice” at the time of the filing
                    5 of the underlying lawsuit of Nilon v. NIC. Therefore, Plaintiff’s first claim for
                    6 malicious prosecution against Ms. Knowles fails as a matter of law.
                    7               Ms. Knowles bases this motion on this Notice of Motion, the attached
                    8 Memorandum of Points and Authorities, the Statement of Uncontroverted Facts and
                    9 Conclusions of Law, the accompanying Declarations of Victoria Knowles, Kyle A.
                 10 Riddles and Robert Tauler, the pleadings, papers, and other matters on file in this
                 11 action, such oral arguments as the Court may permit, and other matters properly
                 12 before the Court.
                 13                 This Motion is made following the conference of counsel pursuant to Local
                 14 Rule 7-3, which took place on April 19, 2021.
                 15
                 16 Dated: April 26, 2021                          BREMER WHYTE BROWN & O’MEARA
                                                                   LLP
                 17
                 18
                                                                   By:
                 19                                                      Nicole Whyte
                                                                         Benjamin Price
                 20                                                      Kyle A. Riddles
                                                                         Benjamin Price
                 21                                                      Attorneys for Defendants
                                                                         Ryan Ferrell; Victoria Knowles;
                 22                                                      Dave Reid; and Andrew Lee Baslow
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                    1                          MEMORANDUM OF POINTS AND AUTHORITIES
                    2 1.            INTRODUCTION
                    3               Plaintiff’s sole remaining claim against Defendant Victoria Knowles (“Ms.
                    4 Knowles”) is a claim for malicious prosecution, based exclusively on NTG’s alleged
                    5 use of “fraudulent plaintiffs” for purposes of litigating the Nilon Action. However,
                    6 Ms. Knowles never had any interaction with any of the plaintiffs in the Nilon Action
                    7 at any time. Ms. Knowles’ only involvement in the Nilon Action consisted of
                    8 conducting legal research and drafting documents under the direction and
                    9 supervision of senior attorneys at NTG, and no evidence exists that Ms. Knowles had
                 10 any involvement with the plaintiffs in the Nilon Action.
                 11                 Thus, when deposed, no one affiliated with Plaintiff was able to articulate Ms.
                 12 Knowles’ role in the Nilon Action, let alone any conduct that would give rise to
                 13 malicious prosecution. Opposing counsel in the Nilon Action even stated at his
                 14 deposition that “Victoria didn’t have knowledge of what was going on in the case.”
                 15                 As demonstrated below, there is no legally actionable connection between Ms.
                 16 Knowles’ legal work and the alleged procurement of the plaintiffs in the Nilon
                 17 Action – which is the only basis for Plaintiff’s claim. Accordingly, Ms. Knowles
                 18 cannot be liable for malicious prosecution of the Nilon Action as a matter of law.
                 19                 Similarly, Ms. Knowles should be dismissed from the first claim for malicious
                 20 prosecution because Plaintiff Natural Immunogenics Corp.’s (“NIC”) has not
                 21 established a sufficient evidentiary basis for a reasonable juror to conclude that Ms.
                 22 Knowles acted with malice. Since Ms. Knowles had no interaction with any of the
                 23 plaintiffs in the Nilon Action, did not sign any pleadings, did not attend any hearings,
                 24 or have any other active role in the Nilon Action, there is no evidentiary basis for a
                 25 reasonable juror to conclude she acted with malice.
                 26 / / /
                 27 / / /
                 28 / / /
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                    1               The following facts are undisputed:
                    2               •     Ms. Knowles had no contact with any of the plaintiffs in the Nilon Action.
                    3               •     Ms. Knowles only worked on legal research and drafting in the Nilon
                    4                     Action - tasks assigned by her superiors during her first years as an
                    5                     attorney;
                    6               •     Ms. Knowles made no appearance in the Nilon Action, did not make any
                    7                     written statements to opposing counsel or the Court in the Nilon Action,
                    8                     and did not sign any document (not even a meet and confer letter) as part
                    9                     of the Nilon Action;
                 10                 NIC cannot prevail on its malicious prosecution claim, and the malicious
                 11 prosecution claim should be adjudicated in favor of Ms. Knowles.
                 12 2.              STATEMENT OF FACTS
                 13                 NIC’s malicious prosecution claim relies on NTG’s alleged use of unqualified
                 14 plaintiffs in Nilon v. NIC (“the Nilon Action”). SOF ¶ 1. Ms. Knowles was admitted
                 15 to the California State Bar on June 1, 2011. SOF ¶ 2. Ms. Knowles began working
                 16 as an Associate Attorney for NTG in that same Summer. SOF ¶ 3. Ms. Knowles
                 17 was an Associate Attorney for NTG at all times during the entirety of her work on
                 18 the Nilon Action. SOF ¶ 4. Ms. Knowles was not involved in any communication
                 19 with either the original plaintiff, Andrew Nilon, or the “substitute” plaintiff,
                 20 Sandoval. SOF ¶ 5. Ms. Knowles’ knowledge was limited to what was in the case
                 21 file, including information provided by other attorneys and employees of NTG. SOF
                 22 ¶ 6. On or about December 25, 2011, Scott Ferrell requested Ms. Knowles prepare a
                 23 demand letter to NIC based on the Consumer Legal Remedies Act (“CLRA”) on the
                 24 basis the claims on its “Sovereign Silver” product were false and misleading. SOF ¶
                 25 6. Ms. Knowles prepared a draft CLRA letter for Scott Ferrell’s review and
                 26 approval, using facts provided to her by other attorneys and employees of NTG.
                 27 SOF ¶ 8. She did not sign the CLRA letter that was sent to NIC on or about
                 28 December 27, 2011. SOF ¶ 9.
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                    1               On or about January 21, 2012, Scott Ferrell directed Ms. Knowles to draft a
                    2 Complaint related to NIC’s Sovereign Silver product. SOF ¶ 10. Ms. Knowles
                    3 prepared a draft Class Action Complaint for her boss, using facts in the case file,
                    4 which was to be reviewed and signed off by Scott Ferrell prior to filing. SOF ¶ 11.
                    5 Ms. Knowles did not sign the final version of the Class Action Complaint, or any
                    6 other document in the Nilon case. SOF ¶ 12.
                    7               On March 5, 2012, NTG filed a Class Action Complaint on behalf of Andrew
                    8 Nilon against NIC. SOF ¶ 13. The Class Action Compliant asserted claims for
                    9 Violation of the Consumer Legal Remedies Act, California’s False Advertising Law
                 10 (“FAL”), and Business & Professions code §§ 17200 et seq. (“UCL”). SOF ¶ 14.
                 11 The factual basis for the Class Action Complaint was that NIC manufactured and
                 12 sold a colloidal silver dietary supplement called “Sovereign Silver,” that NIC falsely
                 13 and misleadingly claimed provided “immune support” to those who ingested it. SOF
                 14 ¶ 15.
                 15                 Plaintiff does not assert that any of the legal research and related drafting that
                 16 went into the Class Action pleadings – the only thing Knowles worked on – are in
                 17 any way ill-founded. SOF 6, 11, 12. Ms. Knowles has never spoken to, met, or had
                 18 direct contact with Andrew Nilon or Giovanni Sandoval. SOF ¶ 19. Ms. Knowles
                 19 never interacted with NIC’s principals. SOF ¶ 19. As such, Ms. Knowles harbored
                 20 no ill will or malice towards NIC at any point during her involvement in the Nilon
                 21 Action. SOF ¶ 16. Indeed, the claims had merit pursuant to the CLRA, FAL, and
                 22 UCL, based on the facts available to Ms. Knowles. SOF ¶ 17. Indeed, Ms.
                 23 Knowles’ knowledge of the facts of the case was limited to information contained in
                 24 the file or provided by Scott Ferrell and other senior attorneys within NTG. SOF ¶
                 25 18. Ms. Knowles completed assignments on a task-by-task basis as provided to her
                 26 by Scott Ferrell and other attorneys at NTG during all relevant times of the Nilon
                 27 Action. SOF ¶ 20.
                 28
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                    1 3.            ARGUMENT
                    2               3.1.      Legal Standards
                    3               Federal Rule of Civil Procedure 56 “mandates the entry of summary judgment
                    4 [in whole or in part] … against a party who fails to make a showing sufficient to
                    5 establish the existence of an element essential to that party’s case, and on which that
                    6 party will bear the burden of proof at trial.” Cellotex Corp. v. Catrett, 477 U.S. 317,
                    7 322-23 (1986). A defendant who moves for summary judgment bears the initial
                    8 burden of proving the absence of any triable issue of fact but need not produce
                    9 evidence negating elements of a claim for which the plaintiff bears the burden of
                 10 proof at trial. Id. at 323-25. Summary judgment is proper when the moving party
                 11 establishes that “there is no genuine dispute as to any material fact.” Fed. R. Civ. P.
                 12 56(a).
                 13                  To successfully oppose the entry of summary judgment, the opposing party
                 14 must establish material “facts that might affect the outcome of the suit under the
                 15 governing law. Factual disputes that are irrelevant or unnecessary will not be
                 16 counted.” See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986) (“As to
                 17 materiality, the substantive law will identify which facts are material. Only disputes
                 18 over facts that might affect the outcome of the suit under the governing law will
                 19 properly preclude the entry of judgment.”). Pursuant to Federal Rule of Civil
                 20 Procedure 56(e), a non-moving plaintiff cannot “rest upon the mere allegations or
                 21 denials of the adverse party’s pleading” but must instead produce evidence that
                 22 “set[s] forth specific facts showing that there is a genuine issue for trial.” Fed. R.
                 23 Civ. P. 56(a) (internal quotation marks omitted).
                 24                 To establish a cause of action for the malicious prosecution of a prior civil
                 25 proceeding, a plaintiff must plead and prove that the prior action: (1) was
                 26 commenced by or at the direction of the defendant and was pursued to a legal
                 27 termination in his, plaintiff's, favor (2) was brought without probable cause; and (3)
                 28
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                    1 “was initiated with malice. Area 55, LLC v. Nicholas & Tomasevic, LLP (2021) 61
                    2 Cal. App. 5th 136. (internal quotations omitted).
                    3               3.2.      Knowles Had No Involvement in the Conduct Giving Rise to
                    4                         NIC’s Claims for Malicious Prosecution of the Nilon Action.
                    5                Summary judgment should be entered for Ms. Knowles on Plaintiff’s claim
                    6 for malicious prosecution against her because the claim is solely based on NTG’s
                    7 alleged use of improper plaintiffs, and it is undisputed that Ms. Knowles has never
                    8 spoken to, met, or had direct contact with the two plaintiffs in the Nilon Action,
                    9 namely, Andrew Nilon and Giovanni Sandoval.
                 10                 Plaintiff’s malicious prosecution claim is based exclusively on NTG’s alleged
                 11 use of “fraudulent plaintiffs who alleged fictive injuries.” (Dkt. 1009 at Page ID
                 12 #:69889 citing Dkt. 911 (TAC).) SOF 1, Tauler Dec., Ex. C at 31:7-17 (stating as
                 13 only factual basis a “statement from Nilon admitting to the fact he was paid to pursue
                 14 the litigation); see also, Tauler Dec., Ex. B at 56:7-58:21) (malicious prosecution
                 15 claim is “based upon what Nilon said.”).
                 16                 It is undisputed that Ms. Knowles had no role in procuring either plaintiff in
                 17 the Nilon Action. SOF ¶ 5. Knowles has never met, spoken to, or otherwise
                 18 interacted with either Nilon or Sandoval. SOF ¶ 19. Neither Nilon nor Sandoval
                 19 knew who she was at their deposition. Id.
                 20                 Opposing counsel in the Nilon Case from 2013 until February 2015, Carlos
                 21 Negrete, also confirmed at his depo that “Victoria didn’t have knowledge of what
                 22 was going on in the case.” SOF ¶¶ 22. Benjamin Quinto, the 30(b)(6) witness on the
                 23 topic of Ms. Knowles involvement in the Nilon Action, stated that Ms. Knowles’
                 24 only involvement was that “she was part of the firm that pursued a malicious
                 25 prosecution” and did not know of any involvement other than Ms. Knowles’ name
                 26 appearing on the caption. SOF 1, Tauler Dec. Ex. B. Theo Quinto, the other
                 27 principal of NIC had no information at all to impart about Ms. Knowles. (Tauler
                 28 Dec. Ex. B. - Deposition of at Theo Quinto 56:7-58:21) (malicious prosecution claim
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                    1 is “based upon what Nilon said.”). Indeed, not even the motion for sanctions filed in
                    2 the Nilon Action by the Emord Firm on June 24, 2015 (seven months after a private
                    3 investigator was engaged and over a month after the case was dismissed on May 20,
                    4 2015) makes any mention of Ms. Knowles whatsoever.
                    5               Contrary to what Plaintiff believes, simply being “part of the firm” is not
                    6 enough to be liable for malicious prosecution. The underlying matter must have
                    7 been either commenced or continued “at the direction of” the party being sued.
                    8 Sheldon Appel Co. v. Albert & Oliker (1989) 47 Cal.3d 863, 871–872; Gressett v.
                    9 Contra Costa County (N.D. Cal., May 17, 2013, No. C-12-3798 EMC) 2013 WL
                 10 2156278, at *27 (t]he test is whether a defendant in such an action was actively
                 11 instrumental or was the proximate cause of maliciously putting the law in motion.”);
                 12 Jacques Interiors v. Petrak (1987) 188 Cal.App.3d 1363, 1371–1372 (liability
                 13 imposed when a defendant “instigates or procures the [action]”). Here, it is
                 14 undisputed that Ms. Knowles did nothing other than research and draft documents for
                 15 senior attorneys at her law firm – the typical role of a junior associate who recently
                 16 graduated law school in a law firm of any size. As such, Ms. Knowles cannot be said
                 17 to have directed, instigated, procured or been the proximate cause of either the
                 18 commencement or continuation of the Nilon Action, and no evidence of any such
                 19 involvement exists.
                 20                 Recent cases dealing with similar facts have reached the same result. For
                 21 example, in Chavez v. Dhaliwal (Cal. Ct. App., Oct. 30, 2020, No. A157516) 2020
                 22 WL 6373508, at *8–9 (unpublished), a scorned former client sued her former
                 23 lawyer(?) and her co-counsel. The Court dismissed the case on an anti-SLAPP
                 24 motion and the Court of Appeal of California affirmed, holding that since “the only
                 25 evidence regarding [co-counsel’s] participation in the [underlying complaint] is her
                 26 name listed under attorney Dhaliwal on the caption page, and her signature “for”
                 27 attorney Dhaliwal. The evidence shows that, whatever her participation, co-counsel
                 28 acted on behalf of, if not at the direction of, attorney Dhaliwal.” Id. at 9. Here, Ms.
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                    1 Knowles did not even go so far as to sign any pleading. Ms. Knowles had no
                    2 involvement with any of the named plaintiffs, which, again, is the only basis of
                    3 Plaintiff’s claim of malicious prosecution. The Court should grant summary
                    4 judgment on behalf of Ms. Knowles on this basis.
                    5               3.3.      NIC Cannot Establish that Ms. Knowles Had the Requisite
                    6                         Subjective Intent of Malice
                    7               Plaintiff cannot present any evidence showing (1) the parts of the file that Ms.
                    8 Knowles worked on did not have legal support; (2) the Nilon Action began primarily
                    9 because of hostility or ill will on the part of Ms. Knowles; (3) the Nilon Action was
                 10 initiated by Ms. Knowles solely for the purpose of depriving NIC of a beneficial use
                 11 of its property; (4) the Nilon Action was initiated for the purpose of forcing a
                 12 settlement which had no relation to the merits of the claim. See Estate of Tucker,
                 13 515 F.3d at 1030.
                 14                 The ‘malice’ element of the malicious prosecution tort relates to the subjective
                 15 intent or purpose with which the defendant acted in initiating the prior action…”
                 16 Sheldon Appel Co. v. Albert & Oliker, 47 Cal. 3d 863, 254 Cal. Rptr. 336, 765 P.2d
                 17 498, 503 (1989). The finding of malice is “vastly different from mere negligence”
                 18 and the evidence must show bad faith. Richter v. Neilson, 11 Cal. App. 2d 503, 507,
                 19 54 P.2d 54, 56 (1936). “[T]he malice requisite to a cause of action for malicious
                 20 prosecution is not the same thing as the failure to act as a reasonable person would
                 21 under the circumstances.” Id.
                 22                 In establishing that an attorney “acted with malice in pursuing the underlying
                 23 litigation,” a malicious prosecution plaintiff “must do more” than assume that jointly
                 24 named parties share knowledge without any evidence. Estate of Tucker ex rel.
                 25 Tucker v. Interscope Records., Inc., 515 F.3d 1019, 1036 (9th Cir. 2008); see Zeavin,
                 26 186 Cal. Rptr.545, 548 (1982) (rejecting the “argument of joint liability of attorney
                 27 and client for the conduct of each other where both are joined as defendants in a
                 28 malicious prosecution action.”).
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                                                   PLAINTIFF’S MALICIOUS PROSECUTION CLAIM
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      (949) 221-1000
                           1601.116 4818-7669-2965.6
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                    1               To summarize the facts discussed previously, all evidence that has been
                    2 presented shows that Ms. Knowles was a first year associate at NTG when the Nilon
                    3 Action was filed, and took on tasks as assigned to her on the Nilon Action using
                    4 information provided to her by others, all while never signing the demand letter or
                    5 complaint or participating in the strategic decision to file the lawsuit. SOF ¶¶ 5-12,
                    6 18-20.) NIC has no evidence Ms. Knowles had any of the requisite subject intent to
                    7 constitute malice. See Estate of Tucker, 515 F.3d at 1030.
                    8                         3.3.1. Malice Cannot Be Inferred From Lack of Probable Cause
                    9               Not only is there no evidence that Ms. Knowles’ had the requisite improper
                 10 purpose in her work on the Nilon Action, but NIC cannot infer such improper
                 11 purpose by arguing that NTG lacked probable cause in bringing the Nilon Action.
                 12 “[T]he conclusion that probable cause is absent logically tells the trier of fact nothing
                 13 about the defendant’s subjective state of mind.” Downey Venture v. LMI Ins. Co., 66
                 14 Cal. App. 4th 478, 498 (1998). In Downey Venture the court expressly rejected the
                 15 notion that malice can be inferred from a lack of probable cause. Instead, the
                 16 “evidence must include proof of either actual hostility or ill will on the part of the
                 17 defendant or a subjective intent to deliberately misuse the legal system for personal
                 18 gain or satisfaction at the expense of the wrongfully sued defendant.” Id. at 498–
                 19 499.
                 20                 Thus, in the present case, even if NIC establishes that NTG had no probable
                 21 cause to pursue the claim against NIC on behalf of Nilon, that says nothing about Ms.
                 22 Knowles’ state of mind. That is not to say that other attorneys at NTG did not
                 23 sufficiently vet the clients, nor is it to say that Ms. Knowles failed to investigate the
                 24 claims. She merely acted as many new litigators do in the first years at a law firm
                 25 and drafted the Nilon Action complaint at the direction of her supervising partner
                 26 based upon the information provided to her. Thus, based on the record there can be
                 27 no reasonable inference that Ms. Knowles acted with malice at any time during her
                 28 involvement in the Nilon Action.
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       O’MEARA LLP
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     SECOND FLOOR                   VICTORIA KNOWLES NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT ON
                                                   PLAINTIFF’S MALICIOUS PROSECUTION CLAIM
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                    1                         3.3.2. Summary Judgment is Appropriate Because a Reasonable
                    2                                  Fact Finder Could Not Infer Malice from Ms. Knowles
                    3                                  Limited Role in the Nilon Action
                    4               NIC has no evidence demonstrating Ms. Knowles harbored any ill will or
                    5 malicious intent during her limited role in the Nilon Action. “Although malice is
                    6 usually a question of fact for the jury, ‘[s]ummary judgment on the basis of lack of
                    7 malice is nonetheless appropriate when there is no evidence from which a reasonable
                    8 fact finder could conclude that the defendant pursued the underlying action with
                    9 malice.’” Ritchie v. Sempra Energy, No. 3:10-CV-1513-CAB-KSC, 2015 U.S. Dist.
                 10 LEXIS 189423 at *23 (S.D. Cal. Sept. 4, 2015), aff’d sub nom. Ritchie v. Sempra
                 11 Energy, 703 F. App’x 501 (9th Cir. 2017), quoting Estate of Tucker ex rel. Tucker v.
                 12 Interscope Records., Inc., 515 F.3d 1019, 1036 (9th Cir. 2008).
                 13                 In Grindle v. Lorbeer, 196 Cal.App.3d 1461 (1987) the court addressed the
                 14 issue of whether careless prefiling research constitutes sufficient unreasonable
                 15 conduct to permit an inference of actual malice. Grindle v. Lorbeer, 196 Cal.App.3d
                 16 1461, 1463 (1987). The court determined it did not. The court found the defendant
                 17 attorney’s review of the investigative file, a memo prepared by a law clerk
                 18 summarizing facts of the case and his general knowledge “far surpasses the efforts
                 19 found so minimal the court could infer malice in [Baker v. Gawthorne, 82 Cal. App.
                 20 2d 496, 186 P.2d 981 (1947)].” In other words, malice cannot be reasonably inferred
                 21 even when an attorney conducts minimal research herself and relies upon the
                 22 investigative file, another’s summary of the case facts, and the attorney’s own
                 23 general knowledge. The court ultimately held that “[n]egligence does not equate to
                 24 malice. Nor does the negligent filing of a case necessarily constitute malicious
                 25 prosecution.” Id. at 1468. Instead, there must be more to find the element of malice.
                 26                 Ms. Knowles’ role in the case was similarly limited. Ms. Knowles was
                 27 provided with certain information in the case file and from senior attorneys at the
                 28 firm and drafted documents based on this information alone. (SOF ¶¶ 6, 7.) NIC has
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                    1 failed to provide a modicum of evidence to establish Ms. Knowles did not believe the
                    2 claim was valid or the claim was brought for an improper purpose. At all times she
                    3 believed the claims had merit pursuant to the CLRA, FAL, and UCL. (SOF ¶ 17.)
                    4 She was not involved in any strategic decision and harbored no malice towards NIC
                    5 at any point of her involvement during the action. (SOF ¶¶ 16.)
                    6               Ms. Knowles’ reliance on the case file materials and representations from
                    7 other individuals at NTG was in no way reckless or negligent, and it certainly was
                    8 not malicious. However, even if she did act carelessly or even recklessly, that does
                    9 not lead to a reasonable inference that she acted with malice. Ms. Knowles’
                 10 involvement was simply a function of the lawsuit rather than a campaign against NIC
                 11 for an improper purpose. There is no evidence to support she had reason to believe
                 12 the claims in her draft CLRA letter and/or draft Complaint were inaccurate, false, or
                 13 intended to initiate a lawsuit for an improper purpose. Therefore, there is no fact
                 14 from which a reasonable fact finder could infer Ms. Knowles’ subjective state of
                 15 mind to establish the required element of malice for the purposes of NIC’s malicious
                 16 prosecution claim.
                 17 4.              CONCLUSION
                 18                 NIC’s malicious prosecution claim fails because NIC cannot demonstrate that
                 19 Ms. Knowles acted with “malice,” a required element. Therefore, the Court should
                 20 enter summary judgment in favor of Ms. Knowles.
                 21 Dated: April 26, 2021                          BREMER WHYTE BROWN & O’MEARA
                                                                   LLP
                 22
                 23
                                                                   By:
                 24                                                      Nicole Whyte
                                                                         Benjamin Price
                 25                                                      Kyle A. Riddles
                                                                         Benjamin Price
                 26                                                      Attorneys for Defendants
                                                                         Ryan Ferrell; Victoria Knowles;
                 27                                                      Dave Reid; and Andrew Lee Baslow
                 28
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                    1                                    CERTIFICATE OF SERVICE
                    2
                    3        I am employed in the County of Orange, State of California. I am over the age
                      of 18 and not a party to the within action. My business address is 20320 S.W. Birch
                    4 Street, Second Floor, Newport Beach, California 92660.
                    5               On April 26, 2021, I served the within document(s) described as:
                    6              DEFENDANT VICTORIA KNOWLES’ NOTICE OF MOTION AND
                                   MOTION FOR SUMMARY JUDGMENT ON PLAINTIFF’S FIRST
                    7
                                   CLAIM FOR RELIEF
                    8
                    9               on the interested parties in this action as stated on the attached mailing list.
                 10          X      (BY CM/ECF) I hereby certify that I have caused the foregoing to be served
                                    upon counsel of record and all interested parties through the Court’s electronic
                 11                 service system.
                 12              I certify that I am employed in the office of a member of the bar of this Court
                           at whose direction the service was made.
                 13
                                    Executed on April 26, 2021, at Newport Beach, California.
                 14
                                    I declare under penalty of perjury that the foregoing is true and correct.
                 15
                 16                      Laurinda L. Palacio                           /s/ Laurinda L. Palacio
                                        (Type or print name)                                 (Signature)
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                    1                      Natural-Immunogenics Corp. v. Newport Trial Group, et al
                    2                                  Case No. 8:15-cv-02034-JVS-JCG
                    3 BWB&O CLIENT:   Ryan Ferrell; Victoria Knowles; Dave Reid; and
                                   Andrew Lee Baslow
                    4
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